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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK

_______________________________________
                                       )
WILLIAM I. KOCH, an individual,        )
                                       )   Case No. 07 CIV 9600 (BSJ) (DCF)
                    Plaintiff,         )   ECF Case
                                       )
       v.                              )
                                       )
ERIC GREENBERG, an individual, ZACHYS )
WINE & LIQUOR STORE, INC. a New York )
corporation, and ZACHYS WINE AUCTIONS, )
INC., a New York corporation,          )
                                       )
                    Defendants.        )
                                       )
                                       )


                 DEFENDANT ERIC GREENBERG’S OBJECTION
                    TO IMPROPER REPLY DECLARATION


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                                           Attorneys for Defendant
                                           ERIC GREENBERG
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       Defendant Eric Greenberg hereby objects to the improper Reply Declaration of Bradley

Leimkuhler, which was filed by Plaintiff William I. Koch (“Plaintiff” or “Koch”) in support of

his Motion for Elimination or Modification of Protective Order and Application for Removal of

Confidentiality Designations. Koch is not entitled to file new evidence in support of his motion

in connection with his reply, but rather was required to submit such evidence along with his

initial memorandum.

       Moreover, this is the first time that Plaintiff has raised any objections, to Greenberg or to

the Court, to the deposition testimony and documents attached to the Reply Declaration.

Plaintiff has not previously met and conferred as to these documents and this testimony as

required by the Court’s Protective Order. Plaintiff has also failed to seek an informal discovery

conference with the Court regarding his objections as required by Local Rule 37.2.

       Although Koch argues in his Reply that the Declaration of Adam Pollock shows that

Koch did meet and confer, that declaration and the attachments thereto in fact show that Koch

did not meet and confer as to any specific testimony or documents after July 2010. (Koch later

challenged temporary blanket designations of several depositions by Greenberg as overbroad, but

did not identify any specific designation he believed was improper. Moreover, counsel for

Greenberg expressly informed counsel for Koch that the blanket designations were temporary,

and those designations have since been replaced with specific designations by Greenberg, as to

which Koch has not met and conferred.)

       In paragraph 6 of the Reply Declaration, Mr. Leimkuhler purports to submit “evidence”

in support of Koch’s challenge to Greenberg’s confidentiality designations as to the testimony of

third parties Serena Sutcliffe, Lori Atherton, Thierry Lovato, Richard Brierley and Jamie Ritchie.

(All of these individuals had access to Greenberg’s confidential business and personal




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information and were questioned on these topics at their depositions.) However, Mr. Leimkuhler

does not submit actual deposition testimony with his declaration, but rather “summarizes” (i.e.,

characterizes) the testimony in Exhibit E to the Reply Declaration. Counsel’s characterization of

testimony is not evidence and should not be considered by the Court, even if it had been timely

submitted, which it was not.

        For all of the foregoing reasons, Greenberg objects to the Reply Declaration of Bradley

Leimkuhler and all attachments thereto. Greenberg respectfully requests that the Court decline

to consider such purported evidence.

Dated: Poughkeepsie, NY                           Respectfully submitted,
       December 23, 2010


                                                  By:          /s/ Amy L. Hespenheide
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